Case 19-11043 Doc 29 Filed 05/24/19 Entered 05/24/19 10:48:13 Main Document Page 1 of 2



                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

   IN THE MATTER OF:                                            CASE NO. 19-11043
                                                                Section "B"
   RUIZ, GABRIEL
   RUIZ, ERIKA Y
                                                                CHAPTER 7
   DEBTOR(S)

              TRUSTEE'S PETITION OF DISCLAIMER AND ABANDONMENT

   TO THE CLERK OF BANKRUPTCY COURT FOR SAID DISTRICT:

           The petition of the undersigned Trustee of the estate of the above named Debtor(s), with
   respect represents:

            On the grounds that there is no equity in the hereinafter described property for the
   Debtor(s)' estate over and above such mortgage and/or other liens as may affect the said property
   and such exemptions as may apply thereto, or that if there is any such equity, it is not sufficient
   to justify administration.

           The undersigned Trustee (in his official capacity under Federal Law) as representative of
   the estate of the Debtor(s), does, subject to the approval of this Court, disclaim and abandon all
   such right, title, and interest of the said Debtor(s) estate in and to the following described
   property:

   (1) Household goods, appliances, and furniture. c
   (2) Wearing apparel. c
   (3) Real property located at 42266 Blyth Ave., Ponchatoula, LA.bc
   (4) Real property located at 1141 Don Caster Ct., Kissimee, FL.b
   (5) Grandview Las Vegas timeshare.b
   (6) Real property located at 1732 Boat Launch Rd., Kissimee, FL.a
   (7) Children’s custodial bank account.
   (8) Household electronics.b
   (9) Sports & hobby gear.b
   (10) Costume jewelry.b
   (11) Wedding/engagement rings.c
   (12) 2008 Toyota Highlander.c
   (13) 2012 Ford F-250.a
   (14) 2018 Keystone 5th wheel RV.a
   (15) IRC §401(k) retirement account.c
   (16) Military Thrift Savings Plan.c
   (17) Military IRA.c
   (18) Life insurance.c
Case 19-11043 Doc 29 Filed 05/24/19 Entered 05/24/19 10:48:13 Main Document Page 2 of 2



   CASE NO. 19-11043
   TRUSTEE'S PETITION OF DISCLAIMER AND ABANDONMENT(pg. 2 of 2)




   (19) Robin Hood investment account.b
   (20) Assets of Red Con One T-shirt Co.b




                                                                 /s/David V. Adler 5/23/19
                                                                 David V. Adler, Trustee
                                                                 P.O. Box 55129
                                                                 Metairie, LA 70055-5129
                                                                 504-834-5465




   _________________________________
   a
       Encumbered beyond value.
   b
       Insufficient value or equity to justify administration.
   c
       Exempt in whole or part.
